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      1      your right hand?

                                              (Witness sworn.)

                  T HE COURT:      All right.        You may sit down.

                                       T OMEKA WASH,

             called as a witness on behalf of the Defendant, haVing

             been first duly sworn, was examined and testified as

            follows:

                                       DIRECT EXAMINATION

                                       BY

    10                                 MR. COWAN:

    11                   W ould   you state your name, please?

    12            A      Tomeka Wash.

    13                   How old are you, Ms. Wash?

    14            A      Twenty-two.

    15                   T can't, hear you?

    16            A      Twenty two.

    17            THE COURT:       Can you spell your first and last name

    18      for the court reporter?

    19            THE WITNESS:        T-o-m-e-k a      W a-s h.

    20      B Y MR. COWAN:

    21                   C an you tell us where you live?

    22            A      1315 South Homan.

    23                   Okay.     And I'm going to ask you if you know

    24      Mr. Blackmon?




                                              A-60
                                                                         EXHIBIT
                                                                            41
                                                                         BLACKMON004458
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      1             A     Yes.

      2                   And how long have you known him.?

      3             A     For like four years -- four, three years.

      4                   Can you speak up, please?

      5             A     For like four years.

      6                   Did you know Mr. Blackmon on July 4, 2002?

      7             A     Yes.

      8                   And did you have occasion to see him on that

      9      day?

     10             A     Yes.

     11                   W hat was the first time you saw him on July

     12      4, 2002?      What time was it?

     13             A     Like at --

     14             Q     I can't hear you, ma'am?

                    A     At eight o'clock.           Eight.

     16                   Is that p.m. or a.m.?

     17             A     A.m.

     18                   Okay.     And where would that be, ma'am?

     19             A     At my house, 1315 South Homan.

     20             Q     Okay.     And what was the purpose for you

     21      seeing him at that time?

     22            A      Because he was bringing me the food to

     23      pre-cook for the picnic -- the barbecue.

     24                   W hat picnic are you speaking of?




                                               A-61




                                                                         BLACKMON004459
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      1            A      The one that was in the lot across the street

      2      from my house.

      3                   Okay.     There was going to be a picnic across

      4      the street from your house?

      5            A      Yes.

      6                   He was bringing you food to pre-cook?

      7            A      Yeah.

      8                   Okay.     And what did he bring you?

      9            A      Some chicken and some ribs.

     10                   All right.

     11            A      That was --

     12            Q      And did he stay with you or did he leave?

     13            A      He left.

     14                   Okay.     When was the next time you saw him?

     15            A      When I -- When I came outside.

     16                   W hat time was that?

     17            A      That was like at one -- one, two.

     18                   In the afternoon?

     19            A      Yes.

     20                   W here was he?

     21            A      He was down there firing up the grill.

     22                   W here did he get the grill?

     23            A      From -- I think, he -- I think, he got it out

     24      m y basement.




                                               A-62




                                                                         BLACKMON004460
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      1                   Okay.      And do you know the address of this

      2      picnic?

      3             A     It's 720           I mean, 1320.

      4                   You're saying at one o'clock in the

      5      afternoon, you saw Mr. Blackmon in the lot?

      6             A     Yes.

      7                   A nd you say, he was firing up the grill?

      8             A     Yes, he was cooking.

      9                   Okay.      And    what did   you do then?

    10              A     l basically           T stayed out there, watched

    11       them       - him cook.        I was running back and forth at my

    12       h ouse.

    13                    Who was doing the cooking?

    14              A     Eric.

    15                    Okay.      And where were you at two o'clock?

    16              A     I was there.

    17                    W here?

    18              A     At the picnic.

    19                    Okay.      how many people were there?

    20              A     Between 20, 30, dO people.

    21                    Okay.     Did more people come as the afternoon

    22       wore on?

    23              A     Yes.      And people were leaving, too.

    24                    Did you see Mr. Blackmon around four o'clock?




                                               A 63




                                                                         BLACKMON004461
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      1            A     Yes.

      2                   W here was he?

      3            A      At the picnic.

      4                   W hat was he doing there?

      5            A     He was playing chess, barbecuing.

      6                  Barbecuing.        He was cooking?

      7            A     Yes.

      8                  W as he -- Did he ever leave from four o'clock

      9      on?

    10             A      Not that I know of.

    11                   Was his car there?

    12             A     Yes.

    13                    A nd how would you know if he left or not?

    14             A     I wouldn't know.          I didn't see him leave.

    15                   Was he doing the cooking the entire time?

    16             A     Yes.

    17                   W as he the cook at the barbecue?

    18             A     Yes.

    19                   And how late did you stay?

    20             A     I stayed until like ten -- ten o'clock in the

    21       afternoon --

    22             Q     Did you --

    23             A     -- that night.

    24                   Did you see Mr. Blackmon at the end of the




                                              A-64




                                                                         BLACKMON004462
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     1      barbecue?

     2            A       I can't recall.

     3                    Okay.    When was the last time you saw Mr.

     4      Blackmon?       What time was it?

     5            A      Like at -- It was at least at nine.

     6                   Okay.     So you're saying that you saw Mr.

     7      Blackmon at the barbecue from around one o'clock in

     8      the afternoon until nine o'clock at night?

     9            A       Yes.

    10                    And you're certain he did not leave?

    11            A       Yes.

    12                    A nd he was the cook there?

    13            A       Yes.

    14                   Preparing all the food?

    15            A       Yes.

    16                    Were you in close proximity to him?

    17            A      Excuse me?

    18                    Your body, you could see him all the time?

    19            A       Yes.

    20                   Okay.     His car, did it ever leave?

    21            A       No.

    22            M R_   COWAN:    Nothing further.

    23

    24




                                              A 65




                                                                         BLACKMON004463
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      1                                 CROSS EXAMINATION

      2                                 BY

      3                                 M S. WALOWSKI:

      4                    Ms. Wash, you have a previous felony

      5      conviction, don't you?

      6            A       Yes.

      7            Q   •   That's for possession of a controlled

      8      substance, right?

      9            A       Yes.

     10                    A nd you received -- That was from Judge Ricky

     11      Jones, where you received probation, right?

     12            A       Yes.

     13                    In 2002?

     14            A       Yes.

     15                    And you also have another -- You had another

     16      felony conviction as well, from 2003, right?

     17            A       Yes.

     18                    And that was also for delivery of a

     19      controlled substance, right?

     20            A       Yes.

     21                    And you got probation again for that, right?

     22            A       Yes.

     23                    And you're currently on that probation,

     24      aren't you?




                                               A-66




                                                                         BLACKMON004464
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                   A      yes.

      2                   That's in front of Judge Jones again, right?

      3            A      Yes.

      4                   And how do you -- How is it that you know the

      5      Defendant?

                   A      T. know him.      He's a friend.         He tried to

      7      flirt with me.

      8                   Okay.     Did you ever date him?

      9            A      No.

     10                   W ere you ever his girlfriend?

     11            A      Uhn-uhn.

     12                   Do you know any of his girlfriends?

     13            A      No.

     14                   Well, do you know any of the girls he dated

     15      or had children with?

     16            A      I just know his baby's mother.

     17                   W ho is that?

     18            A      What's her name?         Shareese.

     19                   "Shareese"?

     20            A      Yes.

     21                   Okay.     And that's the mother of his child?

     22            A      Yes.

     23                   And how do you know Shareese?

     24            A      She was in the car with him.




                                               A--67




                                                                         BLACKMON004465
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                            can't hear you.

                  A      She -- She was in the car with him before.

                         "She was in the car with him before"?

                  A      Yes.

     5                   That's how you know her?

                  A      Yes.

                 •Q      Well, did you ever have contact with her

             personally?

                  A      No.

    10                   You never talked to her?

    1 1           A      No, not one-on-one.

    12                   Not one-on-one.         Well, do you know Shawn

    13      Dallas?

    14            A      Yes.

    15                   W ho is that?

    16            A      That's my friend.

    17                   Okay.     How do you know Shawn Dallas? ,

    18            A      Through the neighborhood?

    19                   Okay.     And does Shawn know Shareese, the

    20      Defendant's mother's -- the Defendant's child's

    21      mother?

    22            A      I really      - I really couldn't tell you that.

    23                   You couldn't           You don't know that?

    24            A      Uhn-uhn.




                                              A-68



                                                                         BLACKMON004466
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      1                  Okay.     And how long would you say you've

      2      known the Defendant?

      3           A      Eric?

      4                  Y es.

                  A      Four years.

      6                  Four years.        Do you see him everyday?

      7            A      Not everyday.

      8                  How. often would you see him?

                  A      Probably twice a week.

    10                   Okay.     How often would he come to your house?

    11            A      Twice a week.

    12                   Twice a week.         Did    you live alone or with

    13       anyone else?

    14            A      i stay with my mother.

    15                    And    you would -- Besides coming over your

    16       house twice a week, would           you see him outside of your

     17      house?

    18            A      Yeah, walking up and down the street.

    19                   Down on that block, right?

    20             A     Yep.

    21                   Right around 13th, 14th and Homan,

    22       Christiana?

    23            A      On Homan.       I would see him on Homan.

    24            9       You would see him on Homan all the time?




                                               A-69




                                                                          BLACKMON004467
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      1           A      Yes.

      2                  You would see him with other boys?

      3           A      Yes.     Shawn.

     4                   Pardon?

     5            A      Shawn.

     6                   And that day, you said -- July 4th, of 2002,

     7       you remember that day, right?

     8            A      Yes.

     9                   W hat did    you do last year for July 4th?

    10            A      Last year, I didn't do anything for July 4th.

    11                   How about the year before?

    12            A      What did 17 do?        I did

    13                   Let me ask      you this:      How do you remember

    14       July 4th, of 2002?

    15            A      Because I remember Eric being -- I remember

    16       we threw a barbecue.

    17                   Is that the only year you threw a barbecue

    18      for 4th of the July?

    19            A      That we -- That I actually threw it.                 That

    20       was the only time that I threw a barbecue.

    21                   You said., that you threw the barbecue in a

    22       lot, right?

    23            A      Yes.

    24                   Or it was at another address actually, right?




                                              A 70




                                                                          BLACKMON004468
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                  A        (Nodding.)

      2                    Is that a "Yes"?

      3           A        Yes.

      4           Q    •   You said 1320 South Homan?'

      5           A        Yes.

      6                    Somebody else lives there, right?

      7           A        No.     It wasn't no one staying thete at the

      8      time.

      9                    Okay.     Who is Mrs. Thomas?

    10            A        She's deceased.

    11            Q        Okay.

    12            A        She was an elderly lady.

    13                     W asn't that her house?

    14            A        Yes, but she was deceased.

    15                     So she no longer lived there?

    16            A        Yeah.     Wasn't nobody staying there.

    17                     So you decided to throw a barbecue in her

    18       y ard or area?

    19            A        Yes.

    20                     And that's the only time you ever did that --

    21            A        Yes.

    22                     -- that July 4th of 2002?

    23            A        Yes.

    24                     And you said, there were about 20 to 30 or 40




                                              A-7 1



                                                                          BLACKMON004469
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      1      people, right?

                  A      Yes.

                         Okay.     And how -- You said, you came out

             a bout one or two o'clock?

                  A      Yes.

                         And you stayed out or you came in and . out

           • until when?        When did you finally go in?

                  A      I finally went in the house like at ten,

            eleven.      It was late.

    10                   Okay.     Well, throughout that period of time,

    11       d id you talk to people?

    12            A      Excuse me?

    13                   Throughout that period of time, from the time

    14       you came out until the time you went in, did                   you talk

    15      to people?

    16            A      Yes.     I socialized.

    17                   Okay.     About how many people did you talk to?

    18            A      I was talking to mainly my family because I

    19      really didn't know too many people.

    20            Q      Well, were you in one spot or when you

    21       s ocialized did you --

    22            A      I was walking around.           It's a little, narrow

    23       lot: (indicating).        I was walking around taiking.

    24                   A nd people were coming and           going, right?




                                              A-72



                                                                          BLACKMON004470
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      1           A      Yes,

      2           Q      But you're sure that Eric was there the whole

      3     entire time?

      4           A      Yes.

     5                   Did you have him in your sight?

     6            A      Yes.

      7                  The whole time?

     8            A      Yes.

     9                   Y ou never lost sight of him?

    10            A      Yes.

    11                   And your testimony is that he cooked

    12       throughout that whole period of time?

    13            A      Yes.

    14                   He never left that barbecue?

    15            A      No.

    16                   Okay.     And can you -- if you remember, can

    17       you name some of the people that were there?

    18            A      Shawn.

    19                   T hat's -- That's the guy you talked about

    20      e arlier, right?

    21            A      Yes.     And -- And Terrell and Eric.

    22                   Shawn, Terrell, and Eric?

    23            A      Right.

    24                   T hat's about all you can remember that were




                                              A -73




                                                                          BLACKMON004471
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      1      there?

      2           A      Yes.     Them are the people I know.

      3                  Pardon?

      4           A      Them are the people T know.

      5                  E verybody else that. was there, you didn't

      6      know?

      7           A      Uhn-uhn.

      8                  Is that a "No"?

      9           T HE COURT:      Is that a "No"?

    10            T HE WITNESS:       Yes.

    11       BY MR. COWAN:

    12                   A nd you said Shawn.          Is he your boyfriend?

    13            A      No.

    14                   All right.        But Shawn is good friends with

    15       t he Defendant, Eric, right?

    16            A      Yes.

    17                   Okay.     And    you know Shawn very well as well,

    18       correct?

    19            A      Yes.

    20            M S. WALOWSKI:         I have nothing else.

    21            THE COURT:       Any redirect?

    22            M R. COWAN:      No, your Honor.

    23            THE COURT:       Ma'am, you can step down.             Thank you.

    24                                        (Witness excused.)




                                              A-74




                                                                          BLACKMON004472
